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                 U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good standing of this
Court’s general bar or be granted leave to appear pro hac vice as provided for by Local Rules 83.12 through
83.14.

In the Matter of                                                      Case Number:
USA v. Burge                                                                          08-CR-846




AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
(In the space below, enter the name of the party or parties being represented)
For Intervenor Ralph Harris




NAME (Type or print) Joey L. Mogul


SIGNATURE (Use electronic signature if the appearance form is filed electronically)
             s/Joey L. Mogul
FIRM People’s Law Office


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CITY/STATE/ZIP        Chicago, Illinois 60642


ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS) 6243516                        TELEPHONE NUMBER 773-235-0070



ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE? (Enter “Y” or “N”) N


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE? (Enter “Y” or “N”) Y


ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR? (Enter “Y” or “N”) Y


IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY? (Enter “Y” or “N”) N


IF THIS IS A CRIMINAL CASE, USE AN “X” TO DESCRIBE YOUR STATUS IN THIS CASE.

RETAINED COUNSEL             X                      APPOINTED COUNSEL
